Case 2:21-cv-03424-GEKP Document 40 Filed 11/29/21 Page 1of1

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: :
LAGALE BROWN : CIVIL ACTION NO. 21-CV-3424

é ORDER

AND NOW, this oh of November, 2021, upon consideration of Plaintiff Lagale
Brown’s Motion to Proceed Jn Forma Pauperis (ECF No. 15) and pro se Amended Complaint
(ECF No. 28), it is ORDERED that:

1, Ms. Brown is GRANTED leave to proceed in forma pauperis pursuant to 28
ULS.C. § 1915,

2. The Amended Complaint is DISMISSED WITH PREJUDICE in its entirety
pursuant to 28 U.S.C. § 1915(e)(2)B)() for the reasons stated in the Court’s Memorandum.

3, All other pending motions (ECF Nos. 16, 17, 19, 20, 25, 29, 30, 32, 35, 38),
which the Court has carefully reviewed, are DISMISSED AS MOOT.

4, The Clerk of Court shall CLOSE this case.

BY 4 OURT:

 

 

 
